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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:24CR36

        vs.
                                                                       ORDER
SCOTT DELAET,

                      Defendant.

       This matter is before the Court on Defendant's Unopposed Motion to Continue Deadline
for Filing Pretrial Motions. (Filing No. 14). The motion is unopposed by the government. For
good cause shown, the Court finds the motion should be granted. Accordingly,
       IT IS ORDERED:
       1)     Defendant's Unopposed Motion to Continue Deadline for Filing Pretrial Motions,
              (Filing No. 14), is granted.
       2)     Pretrial motions shall be filed by May 20, 2024.
       3)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of
              justice will be served by granting this motion and outweigh the interests of the
              public and the defendant in a speedy trial. Any additional time arising as a result
              of the granting of this motion, that is, the time between today’s date and May 20,
              2024, shall be deemed excludable time in any computation of time under the
              requirement of the Speedy Trial Act. Failure to grant this motion would deny
              counsel the reasonable time necessary for effective preparation, taking into account
              the exercise of due diligence, and the novelty and complexity of the case. The
              failure to grant this motion might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B). Failing to timely object to this order as provided under this
              court’s local rules will be deemed a waiver of any right to later claim the time
              should not have been excluded under the Speedy Trial Act.

       Dated this 18th day of March, 2024.
                                                    BY THE COURT:

                                                    s/Michael D. Nelson
                                                    United States Magistrate Judge
